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or their respective properties.

PLEASE TAKE FURTHER NOTICE that in accordance with Article 6 of the Plan,
any Claim arising from or relating to the rejection of an Executory Contract or Unexpired Lease
(“Rejection Claims”) pursuant to the Plan must be filed with the Notice and Claims Agent on or before
4:00 p.m. (prevailing Eastern Time) on the earlier of (a) the 30tm day after entry by the Court of
an order providing for the rejection of such Executory Contract or Unexpired Lease and (b) the
30in day after the Effective Date: provided that the deadline for filing any Rejection Claims in
connection with any Executory Contract or Unexpired Lease rejected pursuant to a prior order of the
Court shall be the date set forth in the respective order authorizing such rejection (the “Rejected
Contract Claims Bar Date”). Any holder of a such Rejection Claim that is required to, but does not,
file a Rejection Claim with the Notice and Claims Agent by the Rejected Contract Claims Bar Date
will be automatically disallowed, forever barred from assertion, and shall not be enforceable against
the Debtors, the Debtors’ Estates, the Wind Down Entities. the Plan Administrator or any of their
respective properties.

PLEASE TAKE FURTHER NOTICE that in accordance with Article 7.11 of the
Plan, all Bahamas Customers forever, fully and finally release and discharge the Debtors with
respect to any Dotcom Customer Entitlement Claims and Dotcom Convenience Claims and
forever, fully and finally withdraw with prejudice such Dotcom Customer Entitlement Claims and
Dotcom Convenience Claims from these Chapter 11 Cases. No Bahamas Customer who timely
made a valid Bahamas Opt-In Election shall receive any Distribution under the Plan on account of
any Dotcom Customer Entitlement Claims or Dotcom Convenience Claims.

PLEASE TAKE FURTHER NOTICE that Article 10 of the Plan and the
Confirmation order contain certain release, exculpation and injunction provisions that are binding
on the Holders of Claims and Interests as set forth in more detail in the Plan and Confirmation
Order.

PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding
on the Debtors, the Consolidated Wind Down Trust, the Wind Down Entities and any Holder of a
Claim or an Interest and such Holder's respective successors and assigns, regardless of whether
the Claim or the Interest of such Holder is Impaired under the Plan, and regardless of whether such
Holder voted to accept the Plan.

PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order
contain other provisions that may affect your rights. You are encouraged to review the Plan and
Confirmation Order in their entirety.

PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order and
the Plan and other documents filed in the Chapter 11 Cases may be obtained from the Court’s
website, https://deb.uscourts.gov, for a nominal fee, or obtained free of charge by accessing the
website of the Debtors’ claims and noticing agent, https://restructuring.ra.kroll.com/ftx/.

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Dated: [e], 2024 LANDIS RATH & COBB LLP
Wilmington, Delaware

Adam G. Landis (No. 3407)
Matthew B. McGuire (No. 4366)
Kimberly A. Brown (No. 5138)
Matthew R. Pierce (No. 5946)
919 Market Street. Suite 1800
Wilmington, Delaware 19801
Telephone: (302) 467-4400
Facsimile: (302) 467-4450
E-mail: landis@Irclaw.com
meguire@Irclaw.com
brown@lrclaw.com
pierce@lrclaw.com

-and-

SULLIVAN & CROMWELL LLP

Andrew G. Dietderich (admitted pro hac vice)

James L. Bromley (admitted pro hac vice)

Brian D. Glueckstein (admitted pro hac vice)

Alexa J. Kranzley (admitted pro hac vice)

125 Broad Street

New York, New York 10004

Telephone: (212) 558-4000

Facsimile: (212) 558-3588

E-mail: dietderichaWsullcrom.com
bromleyj(@sullcrom.com
gluecksteinb@sullcrom.com
kranzleya(@sullcrom.com

Counsel for the Debtors and Debtors-in-Possession

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